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                                    IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF OREGON



     ELLEN ROSENBLUM, Oregon Attorney                        Case No.
     General,
                                                             COMPLAINT
                       Plaintiff,

              v.

     JOHN DOES 1-10; the UNITED STATES
     DEPARTMENT OF HOMELAND
     SECURITY; UNITED STATES CUSTOMS
     AND BORDER PROTECTION; the UNITED
     STATES MARSHALS SERVICE and the
     FEDERAL PROTECTIVE SERVICE,

                       Defendants.


              Plaintiff Ellen Rosenblum, Oregon Attorney General, alleges the following facts and

     claim for relief:




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                                  PARTIES, JURISDICTION, AND VENUE

                                                      1.

              Ellen Rosenblum is the Attorney General for the State of Oregon and has the power to

     appear for the State of Oregon and its agencies, pursuant to ORS 180.060 and common law, and

     for its citizens under the doctrine of parens patriae.

                                                      2.

              On information and belief, John Does 1-10 are employed by the United States

     government in a law enforcement capacity. They have made it impossible for them to be
     individually identified by carrying out law enforcement actions without wearing any identifying

     information, even so much as the agency that employs them.

                                                      3.

              The United States Department of Homeland Security is a Cabinet-level department of the

     U.S. government. Its stated missions involve anti-terrorism, border security, immigration and

     customs. It was created in 2002, combining 22 different federal departments and agencies into a

     single Cabinet agency.

                                                      4.

              United States Customs and Border Protection is an agency within the Department of

     Homeland Security. Its stated mission statement is “To safeguard America's borders thereby

     protecting the public from dangerous people and materials while enhancing the Nation's global

     economic competitiveness by enabling legitimate trade and travel.”

                                                      5.

              The United States Marshals Service is an agency within and under the control of the

     United States Department of Justice. According to a Fact Sheet on its website, “it is the

     enforcement arm of the federal courts, involved in virtually every federal law enforcement

     initiative.”



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                                                       6.

              The Federal Protective Service is another agency within and under the control of the

     Department of Homeland Security. Its stated mission on its website is “To prevent, protect,

     respond to and recover from terrorism, criminal acts, and other hazards threatening the U.S.

     Government’s critical infrastructure, services, and the people who provide or receive them.”

                                                       7.

              This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331 and

     1367, and the U.S. Constitution, First, Fourth, and Fifth Amendments, and under 28 U.S.C.
     § 2201.

                                                       8.

              Declaratory and injunctive relief is sought as authorized in 28 U.S.C. §§ 2201 and 2202.

                                                       9.

              Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b)(2) and (e)(1).

     Defendants are United States agencies or officers sued in their official capacities. Plaintiff Ellen

     Rosenblum is a resident of the State of Oregon, and the events giving rise to this complaint

     occurred and are likely to continue occurring in the State of Oregon, within the City of Portland.

                                               ALLEGATIONS

                                                       10.

              On information and belief, federal law enforcement officers including John Does 1-10

     have been using unmarked vehicles to drive around downtown Portland, detain protesters, and

     place them into the officers’ unmarked vehicles, removing them from public without either

     arresting them or stating the basis for an arrest, since at least Tuesday, July 14.

                                                       11.

              The identity of the officers is not known, nor is their agency affiliation, according to

     videos and reports that the officers in question wear military fatigues with patches simply

     reading “POLICE,” with no other identifying information.

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                                                      12.

              In one widely reported incident, in the early hours of Wednesday, July 15, Mark

     Pettibone alleges that he was confronted by armed men dressed in camouflage who took him off

     the street, pushed him into a van, and drove him through downtown until unloading him into a

     building, which is believed to have been the Mark O. Hatfield United States Courthouse.

                                                      13.

              Pettibone alleges that he was put into a cell and read his Miranda rights, but was not told

     why he was arrested, nor was he provided with a lawyer. He alleges that he was released without
     any paperwork, citation, or record of his arrest.

                                                      14.

              U.S. Customs and Border Protection has been reported by the Washington Post to have

     taken responsibility for pulling Mr. Pettibone off the streets of Portland and detaining him.

                                                      15.

              On information and belief, unidentified federal officers including John Does 1-10 have

     likewise detained other citizens off the Portland streets, without warning or explanation, without

     a warrant, and without providing any way to determine who is directing this action. There is no

     way of knowing, in the absence of those officers identifying themselves, whether only U.S.

     Customs and Border Protection is engaging in these actions. The Marshals Service and other

     Homeland Security agencies reportedly have been sent to Portland to respond to the protests

     against racial inequality.

                                                      16.

              Oregonians have the right to walk through downtown Portland at night, and in the early

     hours of the morning.




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                                                      17.

              Ordinarily, a person exercising his right to walk through the streets of Portland who is

     confronted by anonymous men in military-type fatigues and ordered into an unmarked van can

     reasonably assume that he is being kidnapped and is the victim of a crime.

                                                      18.

              Defendants are injuring the occupants of Portland by taking away citizens’ ability to

     determine whether they are being kidnapped by militia or other malfeasants dressed in

     paramilitary gear (such that they may engage in self-defense to the fullest extent permitted by
     law) or are being arrested (such that resisting might amount to a crime).

                                                      19.

              State law enforcement officers are not being consulted or coordinated with on these

     federal detentions, and could expend unnecessary resources responding to reports of an

     abduction, when federal agents snatch people walking through downtown Portland without

     explanation or identification.

                                                      20.

              Defendants’ tactics violate the rights of all people detained without a warrant or a basis

     for arrest, and violate the state’s sovereign interests in enforcing its laws and in protecting people

     within its borders from kidnap and false arrest, without serving any legitimate federal law

     enforcement purpose.

                                       FIRST CLAIM FOR RELIEF

                        (Violation of First Amendment rights, against all defendants)

                                                      21.

              The Attorney General restates and reincorporates all previous paragraphs of the

     complaint.




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                                                          22.

              Citizens peacefully gathering on the streets of Portland to protest racial inequality have

     the right to gather and express themselves under the First Amendment to the United States

     Constitution.

                                                          23.

              Defendants’ actions are undertaken with the intent of discouraging lawful protest and

     therefore constitute an illegal prior restraint on the First Amendment right of Oregonians to

     peacefully protest racial inequality. Citizens who are reasonably afraid of being picked up and
     shoved into unmarked vans—possibly by federal officers, possibly by individuals opposed to the

     protests—will feel compelled to stay away, for their own personal safety, and will therefore be

     unable to express themselves in the way that they have the right to do.

                                      SECOND CLAIM FOR RELIEF

           (Violation of citizens’ Fourth and Fifth Amendment rights, against all defendants)

                                                          24.

              The Attorney General restates and reincorporates all previous paragraphs of the

     complaint.

                                                          25.

              The Fourth Amendment prohibits unreasonable seizures, and in particular prohibits

     federal officials from seizing a person without a warrant or an exception to the warrant

     requirement. And the State of Oregon has enacted laws that make it a crime to detain a person

     without authority.

                                                          26.

              On information and belief, defendants did not have a warrant to seize Pettibone or the

     other citizens who have been detained, and will continue to seize individuals off the street

     without a warrant, in the absence of an injunction, and no exception to the warrant requirement

     justified or will justify those seizures.

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                                                      27.

              Defendants’ conduct described above constitutes an unreasonable seizure of Pettibone

     and the other citizens who were or will be detained.

                                                      28.

              The Fifth Amendment prohibits federal officers from depriving a person of life, liberty,

     or property without due process of law.

                                                      29.

              On information and belief, defendants did not afford and will not afford Pettibone and the
     other citizens who were or will be detained due process of law.

                                       THIRD CLAIM FOR RELIEF

                (Declaration of rights pursuant to 28 U.S.C. § 2201, against all defendants)

                                                      30.

              The Attorney General restates and reincorporates all previous paragraphs of the

     complaint.

                                                      31.

              In a case of actual controversy within its jurisdiction, any court of the United States may

     declare the rights and other legal relations of any interested party seeking such declaration,

     whether or not further relief is or could be sought, under 28 U.S.C. § 2201.

                                                      32.

              There is an actual controversy within the jurisdiction of this Court, inasmuch as one or

     more federal defendants have engaged in actions endangering Oregon’s citizens and the people

     walking Portland’s streets. They have prevented the Attorney General from knowing which

     agencies and which officers are acting. No federal authority has agreed to stop this practice.

                                                      33.

              Oregon’s citizens are at risk of kidnapping by militias and other civilian “volunteers”

     taking it onto themselves to pull peaceful protesters into their cars, in a manner that resembles

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     the federal actions described above. And Oregon’s own police agencies are therefore injured, by

     roving federal officers confusing citizens about whether they are obligated to comply with armed

     men ordering them into unmarked vans.

                                                        34.

              The Attorney General is entitled to a declaration that the acts at issue are unlawful, and

     an injunction precluding defendants from continuing in them.

                                       FOURTH CLAIM FOR RELIEF

                                   (Public nuisance, against all defendants)
                                                        35.

              The Attorney General restates and reincorporates all previous paragraphs of the

     complaint.

                                                        36.

              The Attorney General has authority under Oregon law to sue to abate a public nuisance.

                                                        37.

              Defendants’ actions described above constitute a public nuisance because they

     unreasonably interfere with the general public’s right to public safety, public peace, public

     comfort, and public convenience.

                                            PRAYER FOR RELIEF

     WHEREFORE, Attorney General prays for a judgment and the following relief:

              1.       A declaration, pursuant to 28 U.S.C. § 2201, that the tactics described in this

                       complaint violate the First Amendment rights of the State’s citizens by restraining

                       their ability to gather in peaceful protest, for fear of being thrown into a van by

                       anonymous agents;

              2.       A declaration, pursuant to 28 U.S.C. § 2201, that the tactics described in this

                       complaint violate the Fourth and Fifth Amendment rights of the State’s citizens –



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                       that it is unlawful for federal law enforcement to pull people off of the streets

                       without probable cause, using unmarked cars and unidentified officers;

              3.       An injunction permanently restraining defendants from engaging in tactics

                       described above, and specifically requiring that defendants and their officers and

                       agents:

                       a) Identify themselves and their agency before detaining or arresting any person

                           off the streets in Oregon;

                       b) Explain to any person detained or arrested that the person is being detained or
                           arrested and explain the basis for that action;

                       c) Not arrest individuals without probable cause or a warrant.

              4.       Such other relief as this Court may deem proper.



              DATED July 17 , 2020.

                                                             Respectfully submitted,

                                                             ELLEN F. ROSENBLUM
                                                             Attorney General



                                                                 s/ Sheila H. Potter
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